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  AO 247 (02/0 8) Order Regarding Motion for Sentence Reduction


                                        UNITED STATES DISTRICT COuRT.
                                                                     for the
                                                           Southern District of Georgia    .         ,.
                                                                                          LUUO lit j1 J      rn

                    United States of America                           )
                                   V.                                  )
                                                                       ) Case No: CR60,O0008-
                         Lequitor Hopkins
                                                                       ) USMNo: 11082-021
Date of Previous Judgment: December 20, 2002                           ) Sarah M. Tipton-Downie
(Use Date of Last Amended Judgment if Applicable)                      ) l)efendant's Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of flthe defendant Ethe Director of the Bureau of Prisons Jthe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.     JGRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    thelast judgment issued) of _________________ months is reduced to __________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    28                                             Amended Offense Level:     28
Criminal History Category: II                                             Criminal History Category: II
Previous Guideline Range:   87                   to 108 months            Amended Guideline Range: 87 to 108 months

11. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range,
   Other (explain):




IlL ADDITIONAL COMMENTS

There is no change to the defendant's guideline range because the two-level reduction she was awarded at her
original sentencing, pursuant to U.S.S.G. § 2D1.1(a)(3), is no longer applicable because her base offense level is
thirty.
Except as provided above, all provisions of the judgment dated December20                                 II remain in effect.
IT IS SO ORDERED.

Order Date:          March 31, 2008


                                                                          John F. Nangle
                                                                          Judge, U. S. District Court
Effective Date:                                                           Southern District of Georgia
                      (if different from order date)                                      Printed name and title
